       Case 3:19-cv-01618-JBA Document 9-1 Filed 10/16/19 Page 1 of 13



                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT
____________________________________
                                     :
MOSSACK FONSECA & CO., S.A.,        :
BUFETE MF & CO., JURGEN              :
MOSSACK and RAMON FONSECA           :
                                     :
            Plaintiffs,              :   CIVIL ACTION NO. 3:19-cv-01618
                                     :
v.                                   :
                                     :
NETFLIX INC.                         :
                                     :
            Defendant.               :
____________________________________:    OCTOBER 16, 2019


    MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT NETFLIX INC.’S
    MOTION TO DISMISS OR IN THE ALTERNATIVE TO TRANSFER VENUE
             Case 3:19-cv-01618-JBA Document 9-1 Filed 10/16/19 Page 2 of 13



                                                     TABLE OF CONTENTS

FACTUAL BACKGROUND ..........................................................................................................1

ARGUMENT ...................................................................................................................................2

I.      The Court Should Dismiss Due to Lack of Personal Jurisdiction Over Netflix .....................2

        A.     Legal Standard for Motion to Dismiss for Lack of Personal Jurisdiction ......................2

        B.     Plaintiffs Cannot Avail Themselves of Connecticut’s Long-Arm Statute Because
               They Are Not Residents of Connecticut and Do Not Have a Usual Place of
               Business in Connecticut...................................................................................................3

        C. Exercise of Personal Jurisdiction Over Netflix Would Violate Constitutional
           Principles of Due Process ...............................................................................................4

               1.      There Is No General Jurisdiction Over Netflix ......................................................5

               2.      There Is No Specific Jurisdiction Over Netflix ......................................................5

        D. The Court Should Also Dismiss Pursuant to Federal Rule 12(b)(3) Due to the
           District of Connecticut Being an Improper Venue ..........................................................7

II.     In the Alternative, Transfer to the Central District of California Pursuant to 28
        U.S.C. § 1404 Is Warranted for the Convenience of the Parties and in the Interests
        of Justice .................................................................................................................................8

        A.     This Action Could Have Been Brought in C.D. Cal. .......................................................8

        B.     Transfer to C.D. Cal. Will Promote Convenience and Justice........................................9

CONCLUSION ..............................................................................................................................10




                                                                         i
         Case 3:19-cv-01618-JBA Document 9-1 Filed 10/16/19 Page 3 of 13



        Plaintiffs Mossack Fonseca & Co., S.A., Bufete MF & Co., Jurgen Mossack, and Ramon

Fonseca’s (collectively, “Plaintiffs”) are Panamanian individuals and businesses. In April 2016,

an anonymous whistleblower released a cache of 11.5 million documents concerning Plaintiffs’

business dealings, which permitted their clients to hide income and avoid taxes through the use of

offshore bank accounts and shell companies. These documents, known as the Panama Papers,

made international headlines and were the subject of extensive news reports throughout the world.

        Defendant Netflix, Inc. (“Netflix”) is the distributor of a feature film titled The Laundromat

that addresses the abuses of the global financial system that were laid bare by the release of the

Panama Papers. Although the film has already been exhibited for weeks at film festivals and in

cinemas, Plaintiffs have asserted defamation and Lanham Act claims and seek to enjoin further

distribution of the film, including in particular, via Netflix’s streaming service, on which the film

is scheduled to become available on October 18, 2019. In a separate filing opposing Plaintiffs’

request for a temporary restraining order and preliminary injunction, Netflix will demonstrate that

Plaintiffs are not entitled to any injunctive relief.

        This Court does not need to reach the merits of Plaintiffs’ motion, however, because

Plaintiffs do not meet the requirements of the Connecticut long-arm statute, Conn. Gen. Stat. § 33-

929(f), necessary for the Court to exercise personal jurisdiction over Netflix. Nor would exercising

personal jurisdiction over Netflix comport with Constitutional due process requirements. Even if

Plaintiffs were permitted to hale Netflix into a Connecticut court, this action should be transferred

because the locus of operative facts concerning The Laundromat is in Los Angeles, California.

                                    FACTUAL BACKGROUND

        Plaintiffs Jurgen Mossack (“Mossack”) and Ramon Fonseca (“Fonseca”) are individuals

residing in the Republic of Panama. (Compl. ¶ 1). Plaintiff Bufete MF & Co. (“MF”) was a



                                                    1
         Case 3:19-cv-01618-JBA Document 9-1 Filed 10/16/19 Page 4 of 13



Panamanian law firm with an office in Ciudad de Panama. (Compl. ¶ 2). Plaintiff Mossack

Fonseca & Co., S.A. (“MFSA”) was a closely held corporation existing under the laws of Panama,

with an office in Ciudad de Panama. (Compl. ¶ 3).

        Netflix is incorporated in the state of Delaware and has its headquarters in the state of

California.   (Declaration of Kate Chilton (“Chilton Decl.”) ¶ 3).        Netflix has no office in

Connecticut. (Chilton Decl. ¶ 3).

        Netflix owns the rights to distribute the film entitled The Laundromat (the “Film”) that is

the subject of Plaintiffs’ Complaint. The Film was shot over thirty-seven days of principal

photography. (Chilton Decl. ¶ 2). Thirty-two of those days were shot in California, with thirty of

those days being in Los Angeles. There were four days of shooting in south Florida and one day

in Las Vegas, Nevada. No shooting or editing for the Film occurred in the State of Connecticut.

(Chilton Decl. ¶ 2). The Netflix personnel who are responsible for the content and marketing of

the Film are all based in Netflix’s Los Angeles office. (Chilton Decl. ¶ 3). The Film’s screenwriter,

Scott Z. Burns, resides in Los Angeles, California.

        The Film is in the midst of a limited theatrical distribution in various U.S. cities, and was

exhibited at the Venice and Toronto Film Festivals. The Film has not been theatrically distributed

in the State of Connecticut and is not scheduled for any theatrical distribution there. (Chilton Decl.

¶ 4).

                                           ARGUMENT

I.      The Court Should Dismiss Due to Lack of Personal Jurisdiction Over Netflix

        A.     Legal Standard for Motion to Dismiss for Lack of Personal Jurisdiction

        As the proponent of jurisdiction, the plaintiff bears the burden of demonstrating that the

Court has jurisdiction over a nonresident defendant. Lego A/S v. Best-Lock Const. Toys, Inc., 886

F. Supp. 2d 65, 72 (D. Conn. 2012); see also Troma Entm't, Inc. v. Centennial Pictures Inc., 729

                                                  2
         Case 3:19-cv-01618-JBA Document 9-1 Filed 10/16/19 Page 5 of 13



F.3d 215, 217 (2d Cir. 2013)). “To establish personal jurisdiction over a nonresident defendant, a

plaintiff must demonstrate that the applicable long-arm statute reaches the defendant and that

minimum contacts exist between the defendant and the forum to satisfy the requirements of due

process.” Van Law v. Proficio Mortg. Ventures, LLC, No. 3:09-CV-1183 RNC, 2010 WL 3926064,

at *2 (D. Conn. Oct. 1, 2010) (citing Metropolitan Life Ins. Co. V. Robertson–Ceco Corp., 84 F.3d

560, 566–67 (2d Cir. 1996)). “A plaintiff must establish an independent basis for personal

jurisdiction for each separate cause of action.” Van Law, 2010 WL 3926064, at *2 (quoting Delcath

Sys., Inc. v. Enney, No. 3:05–CV1281 (JCH) 2006 WL 1525986, at *3 (D. Conn. May 26, 2006)).

        B.      Plaintiffs Cannot Avail Themselves of Connecticut’s Long-Arm Statute Because
                They Are Not Residents of Connecticut and Do Not Have a Usual Place of
                Business in Connecticut

        Under Conn. Gen. Stat. § 33–929(f)(4), a foreign corporation is only subject to suit in

Connecticut by “a resident of this state or by a person having a usual place of business in this

state . . . on any cause of action arising . . . out of tortious conduct in this state, whether arising out

of repeated activity or single acts, and whether arising out of misfeasance or nonfeasance.”

(emphasis added). Therefore, the first question is whether Plaintiffs are residents of Connecticut

or have a usual place of business in Connecticut. See Nedgam Prods., LLC v. Bizparentz Found.,

No. 3:09-CV-500 CFD, 2010 WL 3257909, at *7 (D. Conn. Apr. 29, 2010) (holding plaintiff

Nevada corporations failed to allege “any business operations in Connecticut, let alone a ‘usual

place of business’ in Connecticut” and therefore that plaintiffs could not establish personal

jurisdiction); Lexington Ins. Co. v. Rockwood Corp., No. 3:17-CV-017 (VLB), 2018 WL 7819245,

at *2 (D. Conn. Jan. 24, 2018) (“[A] nonresident plaintiff who has no usual place of business in

Connecticut may not establish personal jurisdiction over a foreign corporation.”) (citation omitted).

        To satisfy the “usual place of business” standard of Conn. Gen. Stat § 33-929(f),

Connecticut courts require that the plaintiff do more than be registered to do business in
                                                    3
           Case 3:19-cv-01618-JBA Document 9-1 Filed 10/16/19 Page 6 of 13



Connecticut or pay taxes in Connecticut; the plaintiff must maintain a fixed, physical address in

Connecticut from which it conducts business.                       Anderson Trucking Serv., Inc. v. Eagle

Underwriting Grp., Inc., No. 3:17-CV-00817 (CSH), 2018 WL 4039326, at *12 (D. Conn. Aug.

23, 2018).1

         Plaintiffs allege that they are either individuals who reside in the Republic of Panama or

entities based in and existing under the laws of Panama. (Compl. ¶¶ 1-3). There are no allegations

in the Complaint that any of the Plaintiffs reside in Connecticut, has an office in Connecticut, or

conduct business from any specific place or location within Connecticut. Cf. Anderson Trucking,

2018 WL 4039326, at *12. Consequently, Plaintiffs fail to make a prima facie showing that this

Court has personal jurisdiction over Netflix, a foreign corporation, under Conn. Gen. Stat. § 33-

929(f),2 and thus dismissal is warranted under Federal Rule 12(b)(2).3

         C.       Exercise of Personal Jurisdiction Over Netflix Would Violate Constitutional
                  Principles of Due Process

         The fact that Plaintiffs are neither residents of, nor have a “usual place of business in,”

Connecticut alone requires the dismissal of their claims against Netflix. However, even if

Plaintiffs did have sufficient ties to Connecticut to satisfy Conn. Gen. Stat. § 33-929(f), this Court

would still lack personal jurisdiction over Plaintiffs because the facts alleged in the Complaint fail

to satisfy Constitutional due process requirements. To satisfy these requirements, the Court must


1
  In this manner, the Connecticut long-arm statute requires a plaintiff have a more direct connection to Connecticut
than would be required for a defendant to be haled into a Connecticut court. Anderson Trucking, 2018 WL 4039326,
at *12. (“While [plaintiff’s] contacts with Connecticut may be sufficient to cause it to be hailed [sic] into a Connecticut
court as a defendant under the long-arm statute, they are insufficient to confer residence status on Anderson as a party
plaintiff entitled to avail itself of the use of Connecticut’s courts under Conn. Gen. Stat. § 33-929(f).”).
2
  Plaintiffs admit that Netflix is a foreign corporation incorporated in Delaware. (Compl. ¶ 4). Although Netflix is
registered to do business in Connecticut, this fact does not affect Netflix’s status as a “foreign” corporation under
Conn. Gen. Stat. § 33-602 (“‘Foreign corporation’ means a corporation incorporated under a law other than the law
of this state.”).
3
  There is no need for jurisdictional discovery. Plaintiffs’ lack of resident status or a usual place of business in
Connecticut is established in the Complaint, and they cannot therefore satisfy the threshold requirement of Conn. Gen.
Stat. § 33-929(f). See Anderson Trucking, 2018 WL 4039326, at *13 (denying jurisdictional discovery on ground that
plaintiff’s failure to allege Connecticut residence or usual place of business was solely within plaintiff’s purview).

                                                            4
            Case 3:19-cv-01618-JBA Document 9-1 Filed 10/16/19 Page 7 of 13



be satisfied first, that the defendant has certain minimum contacts with the forum state, and second,

that the assertion of personal jurisdiction over the defendant comports with traditional notions of

fair play and substantial justice under the circumstances of the particular case. Waldman v.

Palestine Liberation Org., 835 F.3d 317, 331 (2d Cir. 2016).

        The Complaint does not specify whether general or specific jurisdiction is alleged over

Netflix. But under either type of personal jurisdiction, Plaintiffs fail to allege facts sufficient to

satisfy the due process inquiry. The Complaint includes only vague allegations that Netflix is

registered as a foreign corporation in Connecticut and “regularly engages in business in this

judicial district, advertising and marketing its streaming video products, selling subscriptions, and

ultimately streaming programs into the State and the entire United States of America.” (Compl.

at p. 7).

                1.     There Is No General Jurisdiction Over Netflix

        “General jurisdiction requires affiliations so continuous and systematic as to render the

foreign corporation essentially at home in the forum State . . . Being essentially at home in a place

is a very high bar, almost never found for corporations where they are neither incorporated nor

headquartered.” Statek Corp. v. Coudert Bros. LLP, No. 3:07-CV-00456 (SRU), 2018 WL 834227,

at *12 (D. Conn. Feb. 12, 2018) (citing Goodyear Dunlop Tires Operations, S.A. v. Brown, 564

U.S. 915, 919 (2011)) (quotations and other citations omitted). Netflix is incorporated in Delaware

and has its headquarters in California. (Chilton Decl. ¶ 3). Netflix does not maintain any office

in Connecticut. (Chilton Decl. ¶ 3). Accordingly, there is no basis for general personal jurisdiction

over Netflix.

                2.     There Is No Specific Jurisdiction Over Netflix

        To the extent that Plaintiffs purport to allege personal jurisdiction over Netflix, the

Complaint is devoid of allegations that their claims “arise out of or relate to” Netflix’s contacts

                                                  5
         Case 3:19-cv-01618-JBA Document 9-1 Filed 10/16/19 Page 8 of 13



with Connecticut. Due process requires that the “defendant must have undertaken some act by

which it purposefully availed itself of the privilege of conducting activities within the forum State,

thus invoking the benefits and protections of its laws.” Statek Corp., 2018 WL 834227, at *13

(internal citations and quotation marks omitted).

       Plaintiffs only vaguely allege that Netflix has subscribers in Connecticut. The theatrical

exhibition of the Film has been limited to theaters in California and New York (and the Toronto

and Venice Film Festivals). (Chilton Decl. ¶ 4). There has been and will be no theatrical release

of the Film in Connecticut. (Chilton Decl. ¶ 4). Plaintiffs do not allege that the claims in the

Complaint, sounding in defamation and trademark, were somehow purposefully directed by

Netflix at individuals or businesses in Connecticut. In other words, Plaintiffs have offered no

“special state-related design, advertising, advice, marketing, or anything else,” connecting the Film

in question to Connecticut. J. McIntyre Mach., Ltd. v. Nicastro, 564 U.S. 873, 889 (2011).

       Even if the Court were to find that Netflix had purposefully availed itself of the privilege

of doing business in Connecticut, Plaintiffs must still demonstrate that the exercise of personal

jurisdiction “does not offend traditional notions of fair play and substantial justice” and is thus

reasonable under the Due Process clause. Chloe v. Queen Bee of Beverly Hills, LLC, 616 F.3d

158, 173 (2d Cir. 2010) (citation and quotations omitted). The factors to be considered in

determining reasonableness are:

       (1) the burden on the defendant,
       (2) the interests of the forum State, ...
       (3) the plaintiff’s interest in obtaining relief, ...
       (4) the interstate judicial system’s interest in obtaining the most efficient resolution
       of controversies, and
       (5) the shared interest of the several States in furthering fundamental substantive
       social policies.



                                                     6
             Case 3:19-cv-01618-JBA Document 9-1 Filed 10/16/19 Page 9 of 13



Statek Corp. v. Coudert Bros. LLP, No. 3:07-CV-00456 (SRU), 2018 WL 834227, at *20

(D. Conn. Feb. 12, 2018) (citing Chloe v. Queen Bee of Beverly Hills, 616 F.3d 158, 173

(2d Cir. 2010)).

           With respect to the first factor, the burden on Netflix from litigating in Connecticut would

be substantial, as the majority of the relevant witnesses and the evidence giving rise to the Film

are located in California. (Chilton Decl. ¶ 3). With respect to the second factor, Connecticut has

no particular interest in having this case heard here, as neither the Plaintiffs nor Defendant has any

significant connection to the state. With respect to the third factor, there is no readily apparent

reason that Plaintiffs could not bring their claims elsewhere. With respect to the fourth factor, the

convenience of witnesses and center of activities giving rise to the Film which is the center of

Plaintiffs’ Complaint are outside the state. Plaintiffs’ Complaint thus lacks any of the requisite

detail to show that Netflix should have anticipated being haled into a Connecticut court to litigate

defamation claims lodged by Panamanian plaintiffs concerning a film created by Netflix, which is

headquartered in California.4 The Court should therefore hold that exercising personal jurisdiction

over Netflix would violate due process and that the Complaint should thus be dismissed pursuant

to Federal Rule 12(b)(2).

           D.       The Court Should Also Dismiss Pursuant to Federal Rule 12(b)(3) Due to the
                    District of Connecticut Being an Improper Venue

           Pursuant to 28 U.S.C. § 1391(a), an action may be brought in a judicial district in which

the defendant resides. When the defendant is a corporation, the corporation is deemed to reside in

any district where the corporation would be subject to the court’s personal jurisdiction. 28 U.S.C.

§ 1391(c)(2). “Because the requirements for personal jurisdiction and venue are identical for

corporations, Connecticut is an improper venue” where, as here, there is no personal jurisdiction,


4
    No part of the filming or editing of The Laundromat took place in Connecticut. (Chilton Decl. ¶ 2).

                                                           7
        Case 3:19-cv-01618-JBA Document 9-1 Filed 10/16/19 Page 10 of 13



and dismissal is warranted under Federal Rule 12(b)(3). See Izzo v. Sandy Alexander, Inc., No.

3:17-CV-02060 (VLB), 2018 WL 4426040, at *7 (D. Conn. Sept. 14, 2018) (citation omitted).

II.    In the Alternative, Transfer to the Central District of California Pursuant to 28
       U.S.C. § 1404 Is Warranted for the Convenience of the Parties and in the Interests
       of Justice

       In the alternative, this action should be transferred to the United States District Court for

the Central District of California (“C.D. Cal.”) pursuant to 28 U.S.C. § 1404. Section 1404(a)

provides that “[f]or the convenience of parties and witnesses, in the interest of justice, a district

court may transfer any civil action to any other district or division where it might have been

brought . . . .” Whether to grant a motion to transfer venue lies within the broad discretion of the

district court and will be “determined upon notions of convenience and fairness on a case-by-case

basis.” Collins v. Kohl's Dep't Stores, Inc., No. 3:18-CV-00065 (VAB), 2018 WL 2926301, at *2

(D. Conn. June 11, 2018) (quoting Publicker Indus., Inc. v. United States (In re Cuyahoga Equip.

Corp.), 980 F.2d 110, 117 (2d Cir. 1992)).

       A district court engages in a two-part inquiry when considering whether to exercise its

discretion to transfer an action pursuant to 28 U.S.C. § 1404. First, the district court must

determine whether the action could have been brought in the transferee court. Then, the district

court must consider whether the transfer would serve the interests of convenience and justice.

Collins, 2018 WL 2926301, at *3.

       A.      This Action Could Have Been Brought in C.D. Cal.

       The employees in Netflix’s Los Angeles office were responsible for the content of and

marketing for the Film, and the Film’s screenwriter, Scott Z. Burns, resides in Los Angeles.

(Chilton Decl. ¶¶ 3, 5). The Central District of California is thus the judicial district in which “a

substantial part of the events . . . giving rise to the claim occurred,” pursuant to 28 U.S.C.

§ 1391(b)(2), and venue would be proper there.

                                                 8
        Case 3:19-cv-01618-JBA Document 9-1 Filed 10/16/19 Page 11 of 13



       B.      Transfer to C.D. Cal. Will Promote Convenience and Justice

        In deciding whether transfer would promote convenience and fairness, a court should

consider “(1) the plaintiff's choice of forum, (2) the convenience of witnesses, (3) the location of

relevant documents and relative ease of access to sources of proof, (4) the convenience of parties,

(5) the locus of operative facts, (6) the availability of process to compel the attendance of unwilling

witnesses, and (7) the relative means of the parties.” D.H. Blair & Co. v. Gottdiener, 462 F.3d 95,

106–07 (2d Cir. 2006) (quoting Albert Fadem Trust v. Duke Energy Corp., 214 F. Supp. 2d 341,

343 (S.D.N.Y. 2002)).

       Given the conspicuous absence of any connection between the parties or the alleged

operative facts to the District of Connecticut, it appears that the sole reason this action was filed

in this state is because Plaintiffs’ counsel is based in Connecticut. But the convenience of a

plaintiff’s counsel is not entitled to any weight in the venue analysis. Costello v. Home Depot

U.S.A., Inc., 888 F. Supp. 2d 258, 268 (D. Conn. 2012) (“The convenience of counsel is not the

appropriate consideration on a motion to transfer.”); WorldCare Ltd. Corp. v. World Ins. Co., 767

F. Supp. 2d 341, 363 n.44 (D. Conn. 2011) (“The Court further notes that if the inconvenience

relates primarily to [plaintiff’s] Connecticut counsel, such a consideration is an inappropriate

matter on a motion to transfer.”).

       “First, plaintiffs’ choice of forum, although usually afforded significant deference, is

‘substantially diminished’ where, as here, the corporate plaintiff did not file suit in its home base

or state of incorporation.” WorldCare Corp., 767 F. Supp. at 366 (citing Lever Brothers Co. v.

Procter & Gamble Co., 23 F. Supp. 2d 208, 211 (D. Conn. 1998)).

       Second, with respect to the convenience of witnesses and the location of relevant

documents and proof, both of these factors strongly favor transfer to C.D. Cal., where the Netflix

employees who worked on the Film, and their files, are located. With respect to the locus of
                                                  9
         Case 3:19-cv-01618-JBA Document 9-1 Filed 10/16/19 Page 12 of 13



operative facts, C.D. Cal. is where the content and marketing of the Film were produced and where

the Film’s screenwriter resides. The overall convenience of the parties also favors Los Angeles,

California since the majority of witnesses, documents, and operative facts are located there.

Further, Los Angeles is no more difficult, and perhaps easier, to travel to from Panama than

Connecticut.5

        Finally, the relative means of the parties factor is neutral, since both sides are represented

by counsel, and Plaintiffs are not just individuals, but also a partnership and a corporate entity.

        Each of the factors thus favors transfer of this action, and the Court should therefore

exercise its discretion to transfer this action to the United States District Court for the Central

District of California.

                                              CONCLUSION

        For the foregoing reasons, Netflix respectfully requests that the Court grant the motion to

dismiss for lack of personal jurisdiction and improper venue, or in the alternative, transfer this

action to the United States District Court for the Central District of California.




5
 The relative convenience of travel for Plaintiffs Jurgen Mossack and Ramon Fonseca is irrelevant, since they are
both subject to a bail order in Panama that prevents them from leaving that country. (Compl. ¶ 42).

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Case 3:19-cv-01618-JBA Document 9-1 Filed 10/16/19 Page 13 of 13



                                    Respectfully submitted,

                                    DEFENDANT NETFLIX, INC.

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                               11
